Case 2:24-cr-00091-ODW Document 11-2 Filed 02/21/24 Page 1 of 4 Page ID #:98




                Exhibit 8
2/18/24, 6:11 PM                           Case 2:24-cr-00091-ODW Issue
                                                                   Document        11-2travel
                                                                        or extend Israeli  Filed   02/21/24
                                                                                              documents           Pageof2Foreign
                                                                                                        abroad | Ministry  of 4 Affairs
                                                                                                                                   Page ID #:99

     Issue or extend Israeli travel documents abroad
     Israeli citizens and residents living abroad can use this service to apply for or extend Israeli non-biometric travel documents.



                Who can apply                                                                                                                                   t

           Israeli citizens and residents living abroad can apply for, and renew the following documents:
                   Travel documents (passport or laissez-passer).
                   Travel documents that have expired or whose pages have become full.
                   New travel documents issued due to loss, theft, destruction, or wear and tear of the previous document

           All applications must be made in person by the applicant.


           Applicants under 18
                   Parents must make the application together with their children (who are under 18).
                   Divorced, separated, common-law spouses, or single parents must submit written consent of both parents. You can sign the consent form in
                   the presence of the a consul in any Israeli mission abroad, in the presence of a notary, or in an office of the Population and Immigration
                   Authority.


           Notes
                   Travel documents (passports and laissez-passer documents) issued by the State of Israel to its citizens are the property of the state, and
                   must be kept safe.
                   Israeli citizens must leave and enter Israel using Israeli travel documents only.
                   Israeli biometric travel documents cannot be issued outside Israel.




                Replacing an expired or full travel document (passport or laissez-passer)                                                                       s


                                                                                          What you need
                   .Two current, identical, passport photos in color, 5 by 5 centimeters, on a white background
                   .A photo ID (such as an ID card or Israeli driver’s license)
                   .the completed and signed passport or laissez-passer application form


                                                                                                Service fee
           Consult the fees table to see fees application prices:
               See fees in US Dollar and Euro
               For local currencies, check your local consul's fees table




                Issuing a travel document in case of loss, theft or damage                                                                                      t

                      If your travel document has been lost stolen or damaged while abroad, you must appear at the nearest Israeli mission to issue a new travel
                                                                                                                                                     .document
                                                                       .The type of document issued will be determined by the consular representative at the mission


           What you need
                   .Two current, identical passport photos in color, 5 by 5 centimeters, on a white background
                   .A photo ID (such as an ID card or Israeli driver’s license)
                   .Declaration of loss / theft / destruction of a passport or laissez passer form The completed and signed

https://www.gov.il/en/service/issuing_and_extending_travel_documents                                                                                                   1/3
2/18/24, 6:11 PM                          Case 2:24-cr-00091-ODW Document
                                                                 Issue or extend 11-2       Filed
                                                                                 Israeli travel     02/21/24
                                                                                                documents          Pageof3Foreign
                                                                                                          abroad | Ministry of 4 Affairs
                                                                                                                                  Page ID #:100
                   .Application form for a passport or laissez-passer, completed and signed


                                                                                                                                                  Service fee
           Consult the fees table to see fees application prices:
               See fees in US Dollar and Euro
               For local currencies, check your local consul's fees table
           In addition to the service fee, you will be required to pay a fine for the loss, theft or damage of your travel document.




                Extending an Israeli travel document                                                                                                          s

                   You can extend the validity of a non-biometric passport if no more than 5 years have passed from the day it was issued to the end of the
                   extension period.
                   You cannot extend the validity of a biometric passport.
                   Extensions for citizens eligible for military service will be restricted subject to the regulation of their status with the army.


                                                                                                                                             What you need
                   Application for extending or making changes to a passport or laissez-passer
                   .The passport or laissez-passer that you want to extend


                                                                                                                    The service is free of charge


         u Please note, if there is any difference or conflict between the information on this page and the law, the
           provisions of the law will apply.



             Files for download                                                                                                                               t

             Application to extend/make changes to a passport/laissez passer
             File type : pdf Size : 147.43 Kb




           Ministry of Foreign Affairs




           More on the subject

           Documentation requests from the Population Registry and from the Israel Police at Israeli missions abroad
           Authenticate Israeli Population Registry documents with an apostille stamp at Israeli missions abroad
           Notarization and consular authorizations
           Apply for positions in overseas Ministry of Foreign Affairs missions – for local Israeli citizens
           Apply for a position in the Ministry of Foreign Affairs overseas security division
           Applying for positions in the Ministry of Foreign Affairs in Israel

https://www.gov.il/en/service/issuing_and_extending_travel_documents                                                                                              2/3
2/18/24, 6:11 PM                          Case 2:24-cr-00091-ODW Document
                                                                 Issue or extend 11-2       Filed
                                                                                 Israeli travel     02/21/24
                                                                                                documents          Pageof4Foreign
                                                                                                          abroad | Ministry of 4 Affairs
                                                                                                                                  Page ID #:101
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